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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF                             MASTER DOCKET
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                                  18-md-2865 (LAK)
SCHEME LITIGATION

This document relates to: 19-cv-1781, 19-cv-1783,
19-cv-1785, 19-cv-1788, 19-cv-1791, 19-cv-1792,
19-cv-1794, 19-cv-1798, 19-cv-1800, 19-cv-1801,
19-cv-1803, 19-cv-1806, 19-cv-1808, 19-cv-1809,
19-cv-1810, 19-cv-1812, 19-cv-1813, 19-cv-1815,
19-cv-1818, 19-cv-1865, 19-cv-1866, 19-cv-1867,
19-cv-1868, 19-cv-1869, 19-cv-1870, 19-cv-1871,
19-cv-1873, 19-cv-1893, 19-cv-1894, 19-cv-1895,
19-cv-1896, 19-cv-1898, 19-cv-1904, 19-cv-1906,
19-cv-1911, 19-cv-1918, 19-cv-1922, 19-cv-1924,
19-cv-1926, 19-cv-1928, 19-cv-1929, 19-cv-1930,
19-cv-1931.




                             Declaration of Gry Ahlefeld-Engel
                            In Support of Skatteforvaltningen’s
                              Opposition to Motion to Dismiss




        Copenhagen, Denmark
        July 12, 2019
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        Gry Ahlefeld-Engel declares and says:

        1.      I reside in Lyngby, Denmark.

        2.      Since April 1, 2019, I have been the Underdirekt0r, or Director, of the Anti-Fraud

Division of Skattestyrelsen, which, in English, means the Danish Tax Agency. As of 1 July,

2018, Skattestyrelsen is one of seven units that comprise the Customs and Tax Administration of

The Kingdom of Denmark (Skatteforvaltningen) (formerly known as "SKAT"), which is the

Plaintiff in this action.

        3.      I submit this Declaration in support of Plaintiffs Opposition to Defendants'

Motions to Dismiss the complaints for lack of standing. I make this Declaration based on my

personal knowledge except where otherwise indicated to be based on records of

Skatteforvaltningen that I have reviewed and attached as Exhibits to this Declaration. Where so

indicated, I believe the same to be true.


        4.      Skatteforvaltningen has complete authority and control over its day-to-day

operations. Skatteforvaltningen consists of seven (7) specialized agencies, which are separate

units within Skatteforvaltningen each responsible for their core tasks. The agencies have offices

spread over multiple locations in Denmark, and each agency has its own director general. The

management of Skatteforvaltningen consists of seven director generals who have overall

responsibility for carrying out Skatteforvaltningen's duties. Each of the seven director generals

manages the day-to-day operations and has responsibilities of that director general's unit.

Through these director generals, Skatteforvaltningen manages its operations, including the

employment of its employees, contracting for various goods and services, the collection and

receipt of taxes, and the maintenance of its finances for these various purposes. To carry out its


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operations, Skatteforvaltningen, through its director generals, routinely enters into contracts with

employees, vendors, and other third parties. An example of one such employment contract

between Skatteforvaltningen and an employee is attached as Exhibit A.

       5.      As described in paragraph 4, for the purposes of carrying out its operations,

Skatteforvaltningen maintains multiple bank accounts in its own name, and has done so for many

years. Into these various accounts it receives tax and other incoming payments, and out of these

accounts it pays tax refunds and other payments to third parties. As an example of one such

bank account, attached as Exhibit B is an account statement for one of Skatteforvaltningen' s

bank accounts maintained at Danske Bank. The account statement reflects that the account is in

the name of "SKAT, Nordsjrelland-Kobenhavn." The words "Nordsjrelland-Kobenhavn" refers

to North Zealand, Copenhagen, the location of the office of Skatteforvaltningen responsible for

the account.

       6.      The bank account at Danske Bank reflected in Exhibit B was the account from

which Skatteforvaltningen made the refund payments to each of the Defendant pension plans

who have filed the Motion to Dismiss. Skatteforvaltningen would make payments in batch

transfers to a third party designated by each of the pension plans. Most often, the designated

third party was a payment agent, such as Acupay System LLC. For example, attached as Exhibit

C is a copy of a transfer confirmation, reflecting a batch transfer payment on 19 May 2015 of

488,269,280.93 DKK from the account at Danske Bank to the bank account of Acupay, one of

the payment agents designated by multiple defendant pension plans. This batch transfer

represents multiple refund payments to multiple pension plans, including four refund payments

to defendant Avanix Management LLC Roth 401(K) Plan, one of the moving defendants, in the




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amounts of21,007,942.92 DKK, 21 , 216,021.39 DKK, 2,167,154.19 DKK, and 4,667,227.29

DKK.

       7.       In the event that Skatteforvaltningen has a legal dispute with a third party,

Skatteforvaltningen commences litigation in a Danish court (or any other jurisdiction) in its own

name, not in the name of the Kingdom of Denmark. An example of one such lawsuit is attached

as Exhibit D.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on July 12, 2019
                                                          /     Gry A l~feld-Engel




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